        Case 18-13218 Doc 8 Filed 12/04/18 Entered 12/04/18 14:47:18 Main Document Page 1 of 4
 Fill in this information to identify your case:

 Debtor 1                   Brian Joseph Domingue
                            First Name                           Middle Name       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name       Last Name


 United States Bankruptcy Court for the:                 EASTERN DISTRICT OF LOUISIANA

 Case number
 (if known)                                                                                                                   Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


    3.1         B A M Construction, Inc.                                                             Schedule D, line
                PO Box 2087                                                                          Schedule E/F, line     4.2
                Chalmette, LA 70044
                                                                                                     Schedule G
                                                                                                   American Express



    3.2         B A M Construction, Inc.                                                             Schedule D, line
                PO Box 2087                                                                          Schedule E/F, line     4.9
                Chalmette, LA 70044
                                                                                                     Schedule G
                                                                                                   Chase



    3.3         Edward W. Domingue                                                                   Schedule D, line
                721 W. 22nd Street                                                                   Schedule E/F, line     4.2
                Houston, TX 77008
                                                                                                     Schedule G
                                                                                                   American Express




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 Debtor 1 Brian Joseph Domingue                                                     Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.4      Edward W. Domingue                                                            Schedule D, line
             721 W. 22nd Street                                                            Schedule E/F, line    4.9
             Houston, TX 77008
                                                                                           Schedule G
                                                                                         Chase



    3.5      Michael A Domingue                                                            Schedule D, line
             3436 E St Bernard Hwy                                                         Schedule E/F, line    4.9
             Meraux, LA 70075
                                                                                           Schedule G
                                                                                         Chase



    3.6      Michael A Domingue                                                            Schedule D, line
             3436 E St Bernard Hwy                                                         Schedule E/F, line    4.2
             Meraux, LA 70075
                                                                                           Schedule G
                                                                                         American Express



    3.7      Michelle Domingue                                                              Schedule D, line   2.1
             131 Rue Esplanade                                                              Schedule E/F, line
             Slidell, LA 70461
                                                                                            Schedule G
                                                                                         Ally



    3.8      Michelle Domingue                                                             Schedule D, line
             131 Rue Esplanade                                                             Schedule E/F, line    4.1
             Slidell, LA 70461
                                                                                           Schedule G
                                                                                         Amazon - Visa



    3.9      Michelle Domingue                                                             Schedule D, line
             131 Rue Esplanade                                                             Schedule E/F, line   4.4
             Slidell, LA 70461
                                                                                           Schedule G
                                                                                         Bank of America - Visa



    3.10     Michelle Domingue                                                             Schedule D, line
             131 Rue Esplanade                                                             Schedule E/F, line    4.5
             Slidell, LA 70461
                                                                                           Schedule G
                                                                                         Burkes



    3.11     Michelle Domingue                                                             Schedule D, line
             131 Rue Esplanade                                                             Schedule E/F, line    4.6
             Slidell, LA 70461
                                                                                           Schedule G
                                                                                         Capital One




Official Form 106H                                                   Schedule H: Your Codebtors                                Page 2 of 4
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 Debtor 1 Brian Joseph Domingue                                                     Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.12     Michelle Domingue                                                             Schedule D, line
             131 Rue Esplanade                                                             Schedule E/F, line    4.7
             Slidell, LA 70461
                                                                                           Schedule G
                                                                                         Capital One



    3.13     Michelle Domingue                                                             Schedule D, line
             131 Rue Esplanade                                                             Schedule E/F, line    4.8
             Slidell, LA 70461
                                                                                           Schedule G
                                                                                         Chase



    3.14     Michelle Domingue                                                              Schedule D, line
             131 Rue Esplanade                                                              Schedule E/F, line   4.10
             Slidell, LA 70461
                                                                                            Schedule G
                                                                                         Citi Card



    3.15     Michelle Domingue                                                             Schedule D, line
             131 Rue Esplanade                                                             Schedule E/F, line    4.11
             Slidell, LA 70461
                                                                                           Schedule G
                                                                                         Edfinancial



    3.16     Michelle Domingue                                                             Schedule D, line
             131 Rue Esplanade                                                             Schedule E/F, line    4.13
             Slidell, LA 70461
                                                                                           Schedule G
                                                                                         JC Penny



    3.17     Michelle Domingue                                                             Schedule D, line   2.2
             131 Rue Esplanade                                                             Schedule E/F, line
             Slidell, LA 70461
                                                                                           Schedule G
                                                                                         Mr Cooper



    3.18     Michelle Domingue                                                             Schedule D, line
             131 Rue Esplanade                                                             Schedule E/F, line    4.15
             Slidell, LA 70461
                                                                                           Schedule G
                                                                                         Navient



    3.19     Michelle Domingue                                                             Schedule D, line
             131 Rue Esplanade                                                             Schedule E/F, line    4.16
             Slidell, LA 70461
                                                                                           Schedule G
                                                                                         Navient




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 Debtor 1 Brian Joseph Domingue                                                     Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.20     Michelle Domingue                                                             Schedule D, line
             131 Rue Esplanade                                                             Schedule E/F, line    4.17
             Slidell, LA 70461
                                                                                           Schedule G
                                                                                         Nelnet



    3.21     Michelle Domingue                                                             Schedule D, line
             131 Rue Esplanade                                                             Schedule E/F, line 4.18
             Slidell, LA 70461
                                                                                           Schedule G
                                                                                         Old Navy Visa/SYNCB



    3.22     Michelle Domingue                                                             Schedule D, line   2.3
             131 Rue Esplanade                                                             Schedule E/F, line
             Slidell, LA 70461
                                                                                           Schedule G
                                                                                         Resource Bank



    3.23     Michelle Domingue                                                             Schedule D, line   2.4
             131 Rue Esplanade                                                             Schedule E/F, line
             Slidell, LA 70461
                                                                                           Schedule G
                                                                                         RushMore



    3.24     Michelle Domingue                                                             Schedule D, line
             131 Rue Esplanade                                                             Schedule E/F, line    4.19
             Slidell, LA 70461
                                                                                           Schedule G
                                                                                         Shell Oil




Official Form 106H                                                   Schedule H: Your Codebtors                                Page 4 of 4
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